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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,

                       Plaintiff,                     Case No. 1:06-CR-179-08

v.                                                    HON. GORDON J. QUIST

NEFTALI HURST,

                  Defendant.
____________________________________/


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on November 18, 2008, after receiving the written consent of defendant and all counsel. At

the hearing, defendant NEFTALI HURST entered a plea of guilty to Count 2s of the superseding

Indictment, charging defendant with Possession with Intent to Distribute Cocaine in violation of

21:841(a)(1), 21:841(b)(1)(C); Count 3s of the superseding Indictment charging defendant with

Possession of a Firearm by Defendant Convicted of Domestic Violence in violation of 18:922(g)(9),

18:921(a), 18:924(a)(2); and Count 5s of the superseding Indictment charging defendant with

Absconding on Bond in violation of 18:3146(a), 18:3146(b)(1)(A)(I), in exchange for the undertak-

ings made by the government in the written plea agreement. On the basis of the record made at the

hearing, I find that defendant is fully capable and competent to enter an informed plea; that the plea

is made knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises, apart from the promises in the plea
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agreement; that the defendant understands the nature of the charge and penalties provided by law;

and that the plea has a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to Counts 2s, 3s and 5s of the

superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. It is further recommended

that defendant remain detained pending sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, determination of defendant's status pending sentencing, and

imposition of sentence are specifically reserved for the district judge. The clerk is directed to procure

a transcript of the plea hearing for review by the District Judge.



Date: November 18, 2008                                    /s/ Timothy P. Greeley
                                                          TIMOTHY P. GREELEY
                                                          United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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